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                                                                           Page 1

1                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
2
3
4         ATL 4842831 IN RE: PORK               Civil No. 18-1776 (JRT/HB)
          ANTITRUST LITIGATION,
5                                               0:21-md-02998-JRT-HB
          ~~~~~~~~~~~~~~~~~~~~~~~~~~
6         This Document Relates to:             MDL No. 2998
7         All Actions
8
9
                           REMOTE VIDEO DEPOSITION OF
10
                               CORWYN "CORY" BOLLUM
11
                               HIGHLY CONFIDENTIAL
12
13
14
                                 December 1, 2021
15
                                      9:45 a.m.
16
17
18
                                   Suite 2200
19                              90 S. 7th Street
                             Minneapolis, Minnesota
20
21
22
23                      S. Julie Friedman, CCR-B-1476
24
25

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                                                                     Page 295

1                     Would you agree with that?

2              A.     It appears that way.

3              Q.     And --     And you write a reply to Rebecca's

4        e-mail with some complaints about the report that she

5        provided on the cost data.           Is that fair?

6              A.     Yeah.     Rebecca Roddy was a new accountant,

7        and so she was putting together some numbers and --

8        and reported them looking at what our hog cost was

9        relative to the Agri Stats hog cost report.

10                    And then I was just trying to point out to

11       her and use it as a teachable moment for her some

12       things that she wasn't necessarily looking at.

13             Q.     And in response to your e-mail at the

14       bottom of the first page of this Exhibit 45, Paul

15       Bogle writes to you and says, "Cory, I asked Rebecca

16       to include the Agri Stats comparison.               When it was

17       agreed to participate in Agristats, it was also

18       agreed we would not pick apart the numbers.                 We would

19       use the information for reference and strive to get

20       better."

21                    Do you see that?

22             A.     Yeah.

23             Q.     Do you have understanding of what Paul

24       meant when he said to you that it was agreed we would

25       not pick apart the numbers provided by Agri Stats?

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                                                                     Page 296

1              A.     Again, Rebecca worked for Paul, and so

2        Paul was a long-term Hormel employee, and so he -- he

3        didn't like my evisceration of Rebecca very well and

4        so was just reminding me that, again, we -- we --

5                     On this report, we look at our hog costs.

6        We look at how we can reduce our hog cost.                 That is

7        my goal, that is our goal to reduce hog cost.

8                     To me, that's kind why it's interesting

9        that we're a part of this lawsuit, when our goal here

10       is to reduce hog cost; and I get chewed out multiple

11       times in my career trying to reduce hog cost; and,

12       yet, I'm being -- have the opportunity to be in

13       this -- in this position.

14             Q.     Were you involved in the decision to --

15       for Hormel to participate in Agri Stats?

16             A.     I had been involved with the decision to

17       be a part of Agri Stats, and I've been a part of the

18       decision to get out of Agri Stats.

19                    Again, there's -- there's times we try to

20       utilize Agri Stats as an opportunity to benchmark how

21       our primal yields and what -- how we were taking the

22       carcass apart compared; and certainly, there's a lot

23       of differences in -- in how -- how that information's

24       put together, and so it's -- it's a --               It's an

25       interesting concept.

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1              Q.     I'm --     I would like to just ask you a

2        question about -- going back to the question I asked

3        earlier, which is when Mr. Bogle wrote to you when it

4        was agreed to participate in Agri Stats, which you

5        just testified you were part of that decision, it was

6        also agreed we would not pick apart the numbers.

7                     And my question is:          Do you have an

8        understanding of what it means when Mr. Bogle said it

9        was agreed we would not pick apart the numbers?

10             A.     Again, I'm referencing in the -- in this

11       particular instance where some of my discussion to

12       have a teachable moment to Rebecca Roddy was what he

13       was referencing in that -- in that particular

14       instance.

15             Q.     If I could ask you to look at Tab 37 of

16       the binder in front of you.

17                    MR. MITCHELL:        We'll mark that as

18             Exhibit 46, which I think will be the last one

19             from me today.

20                    (Plaintiff's Exhibit 46 was marked for

21             identification.)

22             Q.     (By Mr. Mitchell)         And that's a document

23       Bates-stamped on the first page ending in 11420.

24                    Again, Tab 37, Exhibit 46, do you have

25       that document in front of you?

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